Case 23-10831-MFW    Doc 1016-13    Filed 02/28/24    Page 1 of 3




                         Exhibit K-1

           Ohio Settlement Notice – Postcard Notice
         Case 23-10831-MFW                  Doc 1016-13   Filed 02/28/24   Page 2 of 3
Lordstown Bankruptcy Settlement
c/o Strategic Claims Services
P.O. Box 230
Media, PA 19063

Court-Ordered Legal Notice
Forwarding Service Requested

In re: Lordstown Motors Corp., et al.
  Chapter 11, No. 23-10831 (D. Del.)                 [NAME 1]
  (Jointly Administered)                             [NAME 2]
                                                     [NAME 3]
This is not a solicitation from a lawyer.
                                                     [ADDRESS 1]
You may be entitled to a payment from a              [ADDRESS 2]
settlement. This notice may affect your
legal rights.

For more information, please visit
www.strategicclaims.net/lordstown/
or call (866) 274-4004
               Case 23-10831-MFW          DocLIMITED
                       THIS POSTCARD PROVIDES  1016-13       Filed ABOUT
                                                     INFORMATION     02/28/24      Page 3 of 3
                                                                            THE SETTLEMENT.
               PLEASE VISIT WWW.STRATEGICCLAIMS.NET OR CALL (866) 274-4004 FOR MORE INFORMATION
Lordstown Motors Corp. (“LMC”) and its subsidiaries (“Debtors”) have filed voluntary petitions under Chapter 11 of Title 11 of the U.S.
Bankruptcy Code (the “Bankruptcy Case”) in the U.S. Bankruptcy Court for the District of Delaware (“Bankruptcy Court”). On March __, 2024,
the Court entered an order confirming the Debtors’ plan of reorganization (the “Plan”) and preliminarily approving a proposed Settlement of
claims against certain of the Debtors and David Hamamoto (“Settling Defendants”) asserted in In re Lordstown Motors Corp. Sec. Litig., No.
4:21-cv-00616 (N.D. Ohio) (“Ohio Securities Litigation”), which were also asserted against certain Debtors in the Bankruptcy Case, as well as
releases to other directors and officers of the Debtors who were serving in such roles as of Dec. 12, 2023 but who are not defendants in the Ohio
Securities Litigation (such directors and officers, with Settling Defendants, the “Released Parties”). If approved on a final basis, the Settlement
will, among other things, resolve all class claims that the Settling Defendants violated Sections 10(b) and 20(a) of the Securities Exchange Act
of 1934. The Released Parties deny any liability or wrongdoing. The Ohio Securities Litigation will continue against all other defendants.
You received this postcard because you may be, or represent, a member of the Ohio Settlement Class: all persons and entities that (i) purchased
or otherwise acquired LMC’s publicly traded Class A Common Stock, LMC’s publicly traded warrants, LMC’s publicly traded units,
or any exchange-traded option to purchase or sell LMC’s publicly traded Class A Common Stock from August 3, 2020 through July 2,
2021, and were damaged thereby; and/or (ii) held LMC’s publicly traded Class A Common Stock on September 21, 2020 and were
damaged thereby, except for persons and entities excluded by definition. The Plan provides for the creation of a Settlement Fund of at least
$3 million, and subsequent additional funding of up to $7 million, for the benefit of the Ohio Settlement Class. This amount, plus accrued interest,
after deduction of Bankruptcy Court-awarded attorneys’ fees and expenses, the costs of notice and settlement administration, and taxes, will be
allocated among Settlement Class Members who submit timely valid Ohio Claim Forms. For more information about the Settlement and
procedures, review the long-form Notice at www.strategicclaims.net/lordstown/. Your pro rata share of the proceeds from the Settlement
will depend on the number of valid claims submitted, and when you purchased/held LMC Securities. If all Ohio Settlement Class Members
submit claims, the estimated average recovery will be about $__ per damaged share before deduction of Court-approved attorneys’ fees and
expenses and about $___ per damaged share after. Your recovery will be determined by the plan of allocation in the Notice, or such other plan
of allocation approved by the Bankruptcy Court. Receipt of this Postcard does not mean you are eligible.
To qualify for payment, you must submit a valid Ohio Claim Form. Claim Forms can be found at www.strategicclaims.net/lordstown/, or
you can request that one be mailed to you. Claim Forms must be mailed to: Lordstown Bankruptcy Settlement, c/o SCS, P.O. Box 230, Media,
PA 19063, or be submitted online, by ___, 2024. If you do not want to be legally bound by the Settlement, you must exclude yourself from
the Ohio Settlement Class by ___, 2024. If you exclude yourself, you cannot get money from the Settlement and your ability to seek another
recovery from the Debtors may be limited by the Plan and whether you timely filed an individual claim in the Bankruptcy Case. If you want to
object to any aspect of the Settlement, you must file and serve an objection by ___, 2024. The Notice provides instructions on how to submit
an Ohio Claim Form, exclude yourself, or object. The Bankruptcy Court will hold a hearing on _______, 2024 at __:__ _.m., to consider whether
to finally approve the Settlement and a request by Plaintiffs’ Counsel for up to ___% of the Settlement Fund in attorneys’ fees, plus expenses of
no more than $___. You may attend the hearing and ask to speak, but do not have to.
